Case 4:17-cr-00111-JM Document 751 Filed 04/09/19 Page 1 of1

  
 

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ttew 7293) : | JAME: ERO 9 20 19
United States District Court By. Hack CL
Enstern District of Arkansas — ERK
DEp CLERK
United States of Amerten )
)
v5. }
. )
Antonio L, Lewis ) CaseNo, 0860 4:17CRODIII-19 3
CONSENT TO MODIFY CONDITIONS OF RELEASE
, Antonio L. Lewis « have discussed with Taylor Smith | » Pretrial Serviecs/

 

 

Probation Officer, modifications of my release conditions as follows:

Adding the following:
(7)(h) get medical or psychintric treatment as directed by Pretrial Services

I consent to this mpedification of my release conditions and agree to abide by this modification,

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Rignaiure of Detenttatti ey Meira Services/Prubation Ollicer Date
nd concur that this modification is appropriate.
Dac

The Assistant U.S. Auomcy ({ does O does not concur with this modification.
The above modification of conditions of relense is ordered, to be effective on Y/ 5 { .

2 ‘the above one is not ordered,
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